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June 25, 2020



Honorable Judge Juan R. Sanchez
Federal Court House
501 Market Street, Room 2609
Philadelphia, PA 19106
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             Motion for Evidentiarv Hearing: Case #18-3390, Dist Ct. #S.-17-cr-0390-001

Dear Judge Sanchez:
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On March 1, 2020 I submitted a prose motion requesting an evidentiary hearing contingent
upon newly discovered exculpatory Brady type material to determine the extent of the
discovery violation and the likelihood of a new trial as a result of the discovery pursuant to Fed.
R. Cr. P. 33.

I also submitted an affidavit for the government pursuant to 18 U.S.C. 3504 affirming or
denying the occurrence of prosecutorial unlawful acts in relation to the new evidence in
question. All was accompanied by a memorandum of points and authorities in regards to this
request and submitted for your review.

According to PACER you have received this request and it was logged into the docket. It has
been over 90 days since the motion was sent to the court and I am respectfully requesting a
status update and evidentiary hearing date be set to discuss the issue of the Brady material.

Thank you for reviewing this motion. I hope to hear from you soon regarding this request.

Sincerely,




Edwin Pawlowski, prose
Reg.No.76166-o66
FCI Danbury
33 1/2 Pembroke Road
Danbury, CT 06811-3099
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